
In re Cooper, Corey et al.; — Plaintiff; Applying For Writ of Certiorari and/or Review, Parish of St. Tammany, 22nd Judicial District Court Div. F, No. 2010-15824; to the Court of Appeal, First Circuit, No. 2012 CA 0108.
Granted. The case is remanded to the court of appeal for reconsideration in light of Duckworth v. Louisiana Farm Bureau Mutual Ins. Co., 11-2835 (La.11/2/12), — So.3d -, 2012 WL 5374248, and Quinn v. Louisiana Citizens Property Ins. Corp., 12-0152 (La.11/2/12), - So.3d -, 2012 WL 5374255.
